               Case 1:17-cv-21683-FAM Document 1-10 Entered on FLSD Docket 05/05/2017 Page 1 of 1




                            FYRE FESTIVAL FAQ


                      GENERAL FESTIVAL QUESTIONS

                                          What is Fyre Festival?
 Fyre Festival is a 2 weekend festival taking place on private islands in the Exumas on Fyre Cay, just
 about an hour flight away from Miami, with an all star cast of performers, models, influencers, and
                                         thought leaders attending.

                                 What are the dates of Fyre Festival?
                                Week 1: April 28th, 2017 to April 30th, 2017
                                  Week 2: May 5th, 2017 to May 7th, 2017

                                What is the weather like on Fyre Cay?
              Gorgeous, it’s really one of the best, best times of year to be in the Bahamas!

                                        Is the event rain or shine?
                                                     Yes.

                      How many people will be on the island? Is there a limit?
 Thousands of like-minded festival-goers will be on the island; however, due to security we cannot
                                           release exact numbers.

             Do I need to have housing or is it possible to secure my own lodging?
You must buy housing unless you plan on chartering a yacht (dockage fees + day pass apply). If you
 are chartering a yacht, there is a day pass available by special request only. We can also help you to
                         arrange a yacht charter. Packages will be released soon.

                                How will I pay for things on the island?
  Fyre Festival is working towards being cashless. However, we suggest coming to the island with
 some cash on hand as there are no ATMs. That being said, every vendor will accept credit cards.

                             When’s the lineup going to be announced?
                                                  Very soon.

                                  Who is performing each weekend?
The Fyre Festival lineup will be announced soon. Get excited; there will be performances going on
                                       throughout the day and night.

    Besides performances what other activities will be available while on the island?
 A formal list of available experiences will be released closer to the date of the event. Look forward
 to art installations, culinary experiences, special performances, and more—the best of everything.

                                Is there a map of the island available?
                           Yes a digital map of the island will be available soon.

                                    Is everything walking distance?
                                           Yes, and if not, by boat.

                                           Where do I check in?
You will be checked in with your tickets at the airport prior to departure. You will receive housing
                                           locations upon arrival.




                                           TICKETING

                               What is the Fyre Festival refund policy?
                                All sales are final. There will be no refunds.

                                        Are tickets transferable?
Tickets are non-transferable on third-party websites. If you would like to sell your ticket to a friend,
it must be facilitated through Tablelist. Please email concierge@fyreapp.com to coordinate a resale.

                              Should I expect any materials in the mail?
    Fyre is all about making things seamless, easy, and transparent. As such, all of the necessary
                   materials will be digital. Wristbands will be distributed upon arrival.

                        Are there group rates for groups over a certain size?
                    No, there are no special group rates outside of the listed packages.

                                  Are there any discounts available?
 There is a military discount available. Please email concierge@fyreapp.com with your credentials
                              and military id in return for your promo code.

                        Is it possible to attend the festival both weekends?
Yes; however, you must buy a package for both weekends if you would like to attend both weekends.

                        Is it possible to attend the festival both weekends?
      It is possible to switch weekends, as long as space permits. To change your reservation, email
                                          concierge@fyreapp.com.

                              Does my ticket need to display my name?
  Yes, each guest must have his/her name on his/her ticket. If you purchased a package for a group,
               you will be asked to provide a guest list naming each person in your group.

                                 Can I use more than one credit card?
   You may split the total bill if you are paying in full either between two personal cards or your
  guests. Each additional person will need to create a Tablelist account and “join” the booking. If
 you would like to split amongst two personal cards you will need to create an additional Tablelist
                                                   account.

                        If I add a ticket to my cart, how long will it hold for?
   Tickets to Fyre Festival are not held. Tickets will be distributed on a first-come first-served basis to
completed purchases. You can buy the ticket if it is before the event, or if they have not already sold out.

                                             What is Tablelist?
  Tablelist is real time online reservation and venue management for nightclubs, lounges, bars and
events. It is a trusted ticketing platform that has provided services for 1,000’s of venues and events
                     across the US and abroad. Check it out here: www.tablelist.com.




                                                    VIP

                                    What is included in a VIP ticket?
 The VIP ticket will provide you with an elevated experience. You will have access to VIP events,
       special viewing areas, and curated culinary experiences by a special chef on the island.

                                    Is there bottle service available?
There will be VIP sections with bottle service available for purchase all weekend long. Packages and
                       offers will be available closer to the festival date on Tablelist.




                                      PAYMENT PLANS

                                  How does the payment plan work?
When you select your ticket type you will be able to choose to pay in full or in installments. If you
 choose the payment plan you will be charged each month up until the festival where it will reach
                                                  full price.

                               What is the policy on missed payments?
 There is 5-day grace period for monthly billing. If you do not update your credit card after 5-days,
                       your booking will be cancelled and you will not be refunded.

                           Can I cancel mid-month and request a refund?
  No, there are no refunds for ticket purchases to Fyre Festival. If you would like to coordinate the
                    resale of your ticket, please reach out to concierge@fyreapp.com.




                                    TRANSPORTATION

                                         How do I get to Miami?
                   However you want! It will be your only responsibility this weekend…

                              Where do the flights leave from in Miami?
Flights will be departing and arriving at local Miami airports. The exact airport of your flight will be
                    confirmed with your reservation a few weeks prior to departure.

                         What is the flight schedule to and from Fyre Cay?
    Flights will be leaving from Miami to Fyre Cay from sunrise to sunset Thursday, Friday and
                                                  Saturday.
    Flights will be leaving from Fyre Cay to Miami from sunrise to sunset Saturday, Sunday and
                                              morning Monday.

                    How and when do I schedule my flight to and from Miami?
  A few weeks after your ticket is purchased you will receive an email to coordinate flights for all
          individuals in your group. All flights are assigned on a first come, first-serve basis.

                               How many people will be on one plane?
                    Depending on the plane, there will be 30-50 people one each flight.

          How do I change my flight reservation or request a flight with a friend?
      Flight reservations may be changed, space permitting. To coordinate, please reach out to
                                          concierge@fyreapp.com.

                                 What do I need to get on the plane?
You will need a passport with an expiration date at least 6 months after the date of your departure,
                                 and a valid ticket for the correct weekend.

                                         What if I miss my flight?
  We will make every effort to schedule you on the next flight, but an additional charge may apply.
                         Please allow yourself ample time to arrive to the airport.

              What type of private aircraft will be used as transport to Fyre Cay?
 There will be many different types of aircrafts used. Your specific aircraft will be confirmed with
                                       your flight reservation details.

                            What pilots has Fyre Festival partnered with?
                   The pilots are professionals and carry the proper insurance required.

Is it possible to attend the festival for a single day? If I go a day later is the ticket cheaper?
While it is possible to attend the festival for a single day, ticket pricing will stay the same no matter
                          which day you book for. The package will not change.

                           Can I leave the island and return at a later time?
  Re-entry is permitted to the island. You will simply need to scan your wristband each time you
                             leave the island for security and safety purposes.

                                      How do I retrieve my ticket?
 You can download the Tablelist App, or sign into your Tablelist account on the web to access your
ticket package. If you are unable to locate your purchase, Tablelist customer support will be able to
                   help you locate your purchase! Please reach out to hello@tablist.com

                     Is there an option to coordinate my own transportation?
Yes, but there are restrictions. Once you purchase your ticket and confirm your reservation, please
     reach out to concierge@fyreapp.com to help coordinate special transportation afterwards.

                               Are personal boats and yachts allowed?
        Yes! If you plan to bring your own boat/yacht, please notify concierge@fyreapp.com.




                                             LODGING

                                 What are housing accommodations?
 We’ve worked with an incredible design team to build luxurious tents. These tents feel just like a
                                     hotel with the comforts of home.

                           What is included in housing accommodations?
Each housing accommodation guarantees the defined sized bed with appropriate linens along with
                                        charging stations and lights.


                                          Are there bathrooms?
  Yes, luxury shared communal bathrooms with showers will be accessible throughout the island.
                                    There will be no private bathrooms.

                                      Will there be running water?
                               Yes, there will be running water on the island.

                                     Will there be laundry facilities?
                         There will be no laundry facilities available on the island.

                           What do I need to bring with me to the island?
     Pack as if you are going on vacation to a tropical location. Sunscreen and bug repellent are
                                            highly recommended.

                              Can I stay in between the two weekends?
   No, you must leave the island by the last flight out Monday. You can return again the following
                                                 Thursday at.

                If I choose the shared option, can I switch/request a roommate?
Yes, you may request a roommate for “The Retreat” package, after you book your spot. Please email
     concierge@fyreapp.com to request a roommate, with your guest cc’d. Changes are allowed
                                              as space permits.




                                        FOOD + DRINK

                            Is food included? What kind will be available?
Food is included in the price of your ticket. We are working with a variety of local and international
        vendors to create an incredible hospitality experience. Check back soon for updates!

                    How is Fyre Festival accommodating dietary restrictions?
 We will make our best efforts to accommodate food restrictions. An email will go out to confirm
                                     any restrictions prior to the event.

                           Is alcohol included? What kind will be available?
  Alcohol is not included, but will be available for purchase throughout the island. Anything you
would find at your favorite bar, you will find at Fyre Cay with added local specialities! Menus will be
                                        released prior to the festival.

                                      Can I bring my own alcohol?
                   No. Alcohol may be purchased on the island, but cannot be brought.

                      What is the age requirement for alcohol consumption?
 In order to purchase alcohol, guests must be 21 year of age or older at the time of purchase. If you
 are turning 21 during the time you will be on Fyre Cay, you must wait until 12:00am of your birth
                       date to acquire a 21+ wristband. No exceptions will be made.

                         Are cases of bottled water allowed on the island?
             No; however, they will be available for purchase at the Fyre Convenience store.




                                       CONNECTIVITY

                                           Will my phone work?
         Your phone will work, but please check with your carrier for international charges.

                                    Will there be WiFi on the island?
                                   Yes, complimentary WiFi is available.




                        HEALTH + SAFETY + SECURITY

                                 Will there be a doctor on the island?
Yes. The island will be honoring American Standards for medical safety. There will be a be medical
   tent on the island with professional medical providers. If there is an emergency, guests will be
       transported to the nearest appropriate facility in Miami or the Dr. Hospital in Nassau.

                                       Is the water safe to drink?
Yes the water is safe to drink! We will have water bottle filling stations throughout the island. , but
               there will also be complimentary bottles of water throughout the festival.

                                     Is there security on the island?
   Fyre Festival is working with local law enforcement to ensure a safe festival experience for all.
               Private contractors and the Bahamian army will be on site the entire time.

                                   Will I be searched upon entering?
                           Yes; there will be zero tolerance for prohibited items..

                                            Do the tents lock?
   The housing will have locks on the doors, but would suggest keeping an eye on valuables at all
                                 times, and utilizing lockers on the island.


                        Is there a place I can lock or protect my belongings?
There will be lockers on the island, but would advise to not bring valuable belongs unless necessary.

                                     Do you have a lost and found?
                                                     Yes.

                       How will I know who is a Fyre Festival team member?
                      All Fyre Staff members will be visibly identifiable with t-shirts.

                            What happens if I break a rule on the island?
You will be sent home immediately, subject to an extra change, and not refunded for your purchase.




                                       ACCESSIBILITY

                               Will the island be handicap accessible?
 We are working to make the island accessible. In the meantime, if you have concerns, please reach
                                       out to concierge@fyreapp.com

                                      Are service animals allowed?
Service animals are the only animals allowed onto the festival grounds. Emotional support animals
                                    are not considered service animals.




                               ENTRY REQUIREMENTS

                           What is the age requirement for Fyre Festival?
                Fyre Festival is an 18+ event. For VIP access ticket holders must be 18+.

       I turn 18 over the course of Fyre Festival, will I be allowed to attend while 17?
You must be 18 years of age or over to enter Fyre Cay. If you are turning 18 over the course of Fyre
             Festival you will be permitted on to the island the morning of your birth date.

                     What kind of identification will I need around the island?
 You must have a passport and a valid Photo ID. Your passport must be valid for at least 6 months
                     after the date of arrival. Please see acceptable forms of ID below.



   ACCEPTABLE FORMS OF ID                                       UNACCEPTABLE ID

• Any US government-issued driver’s license                 • School ID
   or ID card containing a photograph and                   • Consular ID
   date of birth
                                                            • Birth certificate
• US or foreign government-issued passport
                                                            • Expired ID of any kind
   containing a photograph and date of birth
                                                            • Photocopy of any ID (except as noted above)
• Foreign government-issued driver’s license/
                                                            • Temporary DMV license without passport
   ID with color photocopy of passport (not
                                                                or expired license
   valid for 21+ wristband. To purchase alcohol
   or enter VIP areas, a physical passport or US
   ID will be required.)
• Temporary DMV documents proving you
   are currently renewing a license — ONLY if
   accompanied by passport or expired license


                         Will I have to go through customs & immigration?
  Yes, you will have to go through customs upon arrival. Fyre Festival has been working with the
Bahamian Government for expedited customs. Please visit http://www.bahamas.com/faq/entering-
                              exiting-policies for entry and exit requirments.

      What if I lost my ID/CC/Phone while I’m there? Will I be denied access to bars?
No you will not be denied access to the bars, but you will have to sign a promissory note to confirm
                                      payment after you return home.




                       PROHIBITED + ALLOWED ITEMS

                     ZERO TOLERANCE POLICY ON ILLEGAL SUBSTANCES
Fyre Festival maintains a zero-tolerance policy for drug use and possession. Local law enforcement
and private security will be working together to ensure a safe and secure environment for all. Please
                                               be responsible.

                                        PRESCRIPTION POLICY
 For any prescription you are carrying a doctor’s note is required. This note must be presented on
 a prescription pad or official letterhead and dated 2 months prior to your departure date with the
                                           following information:
                     Full Name + Dosage + Packaging + Description of vial shape


                                  FYRE CAY CONVENIENCE STORE
Personal items will be available for purchase on the island (toiletries, etc) at the Fyre Convenience store.

                                       LIST OF PROHIBITED ITEMS

              **All items are subject to search and the Prohibited Items List is subject to change


• NO cases of water                                         • NO metal aerosol containers including
• NO outside food or beverage items                             sunscreen, pepper spray, bug repellent, or
                                                                spray paint (non-flammable are permitted)
• NO alcohol or flasks
                                                            • NO Aerosol products / Aerosol Cans
• NO ice or ice packs
                                                            • NO Blankets / Towels / Chairs / Coolers
• NO coolers
                                                            • NO Drones, Remote Control Aircraft, Toys/
• NO glass, cans, cups or coolers
                                                                Cars
• NO illegal substances, drugs, or drug
                                                            • NO Flags
   paraphernalia
                                                            • NO LED Gloves / Massagers / Stuffed
• NO totems, rage sticks or flags over 12 ft
                                                                Animals
   tall are permitted. Any of these items that
   are deemed unsafe or inappropriate, or                   • NO Guns / Ammunition / Tasers
   are being used for purposes other than                   • NO Hula Hoops
   intended, may be confiscated on site.                    • NO Instruments
• NO illegal or unauthorized vending                        • NO Kites / Sky Lanterns
• NO soliciting                                             • NO Mace / Pepper Spray
• NO knives or weapons of any kind                          • NO Pets / Animals
• NO slingshots                                             • NO Promotional Items
• NO flammable lanterns or fire of any kind                 • NO Selfie sticks / Narcissists / Tripods
• NO fireworks or any types of explosives                   • NO Sharpies / Markers / Paint Pens
• NO skateboards, scooters, hoverboards, or                 • NO Toy Guns / Water Guns / Sling Shots
   personalized motor vehicles
                                                            • NO Pacifiers, dust masks or gas masks
• NO bicycles inside the festival
                                                            • NO Liquid makeup
• NO umbrellas of any size
                                                            • NO Unsealed tampons (upon entry)
• NO tents or canopies
                                                            • NO Open packs of cigarettes (upon entry)
• NO chairs or stools of any type
                                                            • NO Bota bags
• NO wagons or carts of any type
                                                            • NO Large purses, bags or backpacks (over
• NO sports balls outside of beach balls.                       12 ″ ×12 ″)
• NO outside cans or cups                                   • NO Selfie sticks
• NO professional cameras (indicated by a                   • NO Parasols
   detachable lens)
• NO professional video or audio recording
   devices
• NO lasers or pointers
• NO chains, chain wallets, or spike jewelry
• NO instruments, megaphones, air horns, or
   noise makers

                                      LIST OF ALLOWED ITEMS

• YES Non-professional flash/still cameras,                 • YES Inflatables (must be deflated upon
   handheld video devices under 6″ (Sony                        entry)
   Action Cam, GoPro, etc.)                                 • YES Flags/banners or handmade signs (no
• YES Small bags and backpacks, single-                         corporate/company-branded and no hard
   compartment backpacks, plush backpacks,                      flagpoles)
   purses (maximum 12″x12″)                                 • YES Cell Phones / Cell Chargers
• YES Hydration packs with no more than                     • YES Sealed Chapstick / Lip Balm
   two main compartments and one smaller
                                                            • YES Sealed Cigarettes / Lighters
   compartment—must be empty upon entry
                                                            • YES Digital & Film Cameras (Non-Pro)
• YES Fanny packs
                                                            • YES Ear Plugs
• YES Sunglasses & hats
                                                            • YES Sealed Eye drops
• YES E-cigarettes/vapes (refillable liquid
                                                            • YES GoPros / Flip Cams
   chambers OK, must be empty upon arrival)
                                                            • YES Beach Balls
• YES Sealed sunscreen lotion (inspected
   upon entry)                                              • YES Sealed Gum

• YES Powder makeup                                         • YES Smiles

• YES Sealed tampons                                        • YES Walkie Talkies

• YES Sealed wet wipes                                      • YES non-aerosol bug spray

• YES Glowsticks & glowing/illuminated
   costumes or jewelry




                                  BUSINESS INQUIRIES

   For all business inquiries including sponsorship, press, media, vendor requests, and
                     volunteers, please email concierge@fyreapp.com.


                 For promotional inquiries, please contact hello@tablelist.com
